          Case 1:20-cv-04662-HG-PK Document 12 Filed 11/03/20 Page 1 of 3 PageID #: 67

                              KASOWITZ BENSON TORRES                                 LLP
                                                  1633 BROADWAY                                    ATLANTA
                                                                                                  HOUSTON
                                            NEW YORK, NEW YORK 10019                            LOS ANGELES
      DANIEL R. BENSON
                                                                                                    MIAMI
DIRECT DIAL: (212) 506-1720                        (212) 506-1700
                                                                                                   NEWARK
DIRECT FAX: (212) 506-1849
   DBENSON@KASOWITZ.COM                         FAX: (212) 506-1800                            SAN FRANCISCO
                                                                                               SILICON VALLEY
                                                                                               WASHINGTON DC




                                                                        November 3, 2020



         Via ECF

         Honorable Roslynn R. Mauskopf, U.S.D.J.
         United States District Court
         Eastern District of New York
         225 Cadman Plaza East, Courtroom 6A
         Brooklyn, New York 11201

                  Re:     Kalman Rosenfeld v. AC2T, Inc., et al.
                          Case No. 20-cv-4662 (E.D.N.Y.)

         Dear Judge Mauskopf:

                 We represent defendant Bonner Analytical Testing Co. (“Bonner Analytical”) in the
         above-referenced action. In accordance with Your Honor’s Individual Rules, we write to
         respectfully request a pre-motion conference regarding Bonner Analytical’s intent to move,
         pursuant to Fed. R. Civ. P. 8(a), 12(b)(3) and 12(b)(6), to dismiss all of the claims plaintiff
         Kalman Rosenfeld asserts against Bonner Analytical in his complaint. (Dkt. No. 1.) Bonner
         Analytical also respectfully requests an extension of its time to answer or move with respect to
         the complaint to five business days after the pre-motion conference.

         A. The Complaint

                 In this action, plaintiff, on behalf of himself and a putative national class of all purchasers
         of the Spartan Mosquito Eradicator (the “Product”), alleging that defendants made false
         statements about the efficacy of the Product, asserts six claims against defendants AC2T, Inc.,
         the manufacturer and seller of the Product, Jeremy Hirsch, a principal of AC2T, and Bonner
         Analytical, a product testing company, for alleged deceptive business practices and false
         advertising in violation of General Business Law §§ 349 and 350 (Counts I and II); unjust
         enrichment (Count III); breach of express warranty (Count IV); violation of the Magnuson-Moss
         Warranty Act (Count V); and fraud (Count VI).
Case 1:20-cv-04662-HG-PK Document 12 Filed 11/03/20 Page 2 of 3 PageID #: 68

KASOWITZ BENSON TORRES                                 LLP
Hon. Roslynn R. Mauskopf
November 3, 2020
Page 2


        The only allegations expressly concerning Bonner Analytical are that: it is a Mississippi
corporation with its principal place of business in Mississippi (Dkt, No. 1 ¶ 27); it performed an
allegedly “scientifically invalid” test on a “former iteration of the Product” (id.); “[u]pon
information and belief,” it is “responsible for conducting and reporting inaccurate test results as
to the efficacy of the Product” (id. ¶ 35); the “fraudulent scheme has also been advanced with
cooperation from Bonner Analytical,” which is “owned by Christopher Bonner, [AC2T’s] Vice
President” (id. ¶ 25); and “[d]efendants publish the findings of a purported test of the Product
showing significant efficacy on the label” (id. ¶ 26), which was “ran [sic] by Bonner Analytical”
(id. ¶ 27).

B. Grounds For Dismissal

         Bonner Analytical seeks to move to dismiss all six counts, pursuant to Fed. R. Civ. P.
12(b)(3), for lack of personal jurisdiction and, pursuant to Fed. R. Civ. 12(b)(6), for failure to
state a claim upon which relief can be granted.

       1. Lack of personal jurisdiction

       Plaintiff does not and cannot establish general personal jurisdiction over Bonner
Analytical. Plaintiff alleges only that Bonner Analytical is a Mississippi company with
Mississippi headquarters. He does not and cannot allege, as he must, that Bonner engages in a
“continuous and systematic course of doing business” in New York which would warrant a
finding that Bonner Analytical is present in New York. Yih v. Taiwan Semiconductor Mfg. Co.,
No. 19-2218-CV, 2020 WL 2530183, at *1 (2d Cir. May 19, 2020).

        Nor does or can plaintiff allege facts sufficient for the Court to exercise specific
jurisdiction over Bonner Analytical. Under New York law, a court may exercise specific
jurisdiction over an out-of-state corporation where the corporation “‘transacts any business
within the state or contracts anywhere to supply goods or services in the state’ and the cause of
action is based on this activity.” Yih, 2020 WL 2530183, at *2 (quoting CPLR 302(a)(1)).
Plaintiff does not allege that Bonner Analytical did anything at all in New York, much less
engage in activity giving rise to any of the claims he asserts.

       2. Failure to state a claim

        Plaintiff’s claims against Bonner Analytical must be dismissed also because his
allegations do not state a claim against Bonner Analytical. With respect to Counts I and II for
deceptive business practices and false advertising in violation of N.Y. Gen. Bus. Law §§ 349 and
350, plaintiff fails to allege, as he must, that Bonner Analytical engaged in any consumer-
oriented conduct or advertising at all, much less consumer-oriented conduct or advertising which
was deceptive or misleading. See, e.g., City of New York v. Smokes-Spirits.Com, Inc., 12 N.Y.3d
616, 621 (2009); Andre Strishak & Assocs., P.C. v. Hewlett Packard Co., 300 A.D.2d 608, 609,
752 N.Y.S.2d 400, 403 (2d Dep’t 2002).
Case 1:20-cv-04662-HG-PK Document 12 Filed 11/03/20 Page 3 of 3 PageID #: 69

KASOWITZ BENSON TORRES                                LLP
Hon. Roslynn R. Mauskopf
November 3, 2020
Page 3


        Plaintiff’s claim for unjust enrichment (Count III) fails because it is duplicative of
plaintiff’s other claims, see Corsello v. Verizon New York, Inc., 18 N.Y.3d 777, 790, 967 N.E.2d
1177 (2012), and because plaintiff does not, as he cannot, allege any of the elements of the
claim, including that Bonner Analytical benefited at all, much less at plaintiff’s expense.

         Plaintiff cannot make out a claim for breach of express warranty (Count IV) because,
among other things, he does not and cannot allege that Bonner Analytical sold the Product. See,
e.g., Sarr v. BEF Foods, Inc., No. 18CV6409ARRRLM, 2020 WL 729883, at *7 (E.D.N.Y. Feb.
13, 2020) (express warranty is an “affirmation of fact or promise made by the seller to the
buyer”) (citation omitted). Plaintiff’s Magnuson-Moss Warranty Act claim therefore fails as
well. See Chiarelli v. Nissan N. Am., Inc., No. 14-CV-4327 NGG VVP, 2015 WL 5686507, at
*9 (E.D.N.Y. Sept. 25, 2015) (Magnuson-Moss Act warranty claims “stand or fall with
. . . express and implied warranty claims under state law”) (citation omitted).

        Plaintiff’s fraud claim (Count VI) against Bonner Analytical fails not only because his
allegations lack the particularity required under Fed. R. Civ. P. 9(b) but also because plaintiff
does not allege that Bonner Analytical made any representation to him at all, much less a false
representation. See Passiglia v. Northwell Health, Inc., 252 F. Supp. 3d 129, 137 (E.D.N.Y.
2017).

        Plaintiff’s bare allegation that the alleged “fraudulent scheme” was “advanced with
cooperation from” Bonner Analytical and his repeated group pleading references to
“Defendants” (e.g., Dkt. No. 1 ¶¶ 49, 56, 65, 66, 69, 80) and “Defendant” (e.g., Dkt. No. 1 ¶¶ 84,
86, 87), without specifying what Bonner Analytical is alleged to have done, do not come close to
providing Bonner Analytical with fair notice under Fed. R. Civ. P. 8(a) of any of the claims
against it, let alone to meeting the Fed. R. Civ. P. 9(b) requirement that fraud be pled with
particularity. See, e.g., Automated Transaction LLC v. New York Cmty. Bank, No. 12-CV-3070
JS ARL, 2013 WL 992423, at *4 (E.D.N.Y. Mar. 13, 2013) (group pleading violates Rule 8(a)).

       Accordingly, all of the claims against Bonner Analytical should be dismissed.

       We thank the Court for its consideration of this letter.



                                                      Respectfully,

                                                      /s/ Daniel R. Benson

                                                      Daniel R. Benson
